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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                Plaintiff,                           4:15-CR-3059
    vs.
                                                        ORDER
KENNETH LEE JOHNSON,
                Defendant.


    IT IS ORDERED that:

    1.    The defendant's Uncontested Motion to Continue Sentencing
          Hearing (filing 72) is granted.

    2.    Defendant Kenneth Lee Johnson's sentencing is continued to
          March 25, 2016, at 10:00 a.m., before the undersigned United
          States District Judge, in Courtroom No. 1, Robert V. Denney
          United States Courthouse and Federal Building, 100 Centennial
          Mall North, Lincoln, Nebraska. The defendant shall be present at
          the hearing.

    Dated this 3rd day of February, 2016.

                                         BY THE COURT:



                                         John M. Gerrard
                                         United States District Judge
